    Case: 1:17-cv-04677 Document #: 95 Filed: 08/05/19 Page 1 of 10 PageID #:538




                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

RICHARD H. WILLIAM,

       Plaintiff,                                     No. 17 C 4677

       v.                                             Hon. Judge Thomas M. Durkin

JOHN R. BALDWIN, Director of the Illinois             Hon. Mag. Judge Jeffrey Cole
Department of Corrections, RANDY
PFISTER, Warden, RICARDO TEJEDA,
Assistant Warden,

       Defendants.


                     PLAINTIFF’S SECOND AMENDED COMPLAINT

       Plaintiff William Richard brings this action against Defendants John R. Baldwin,

Director of the Illinois Department of Corrections (IDOC or Department); Randy Pfister,

Warden; and Ricardo Tejeda, Assistant Warden, as follows:

                                       INTRODUCTION

       1.      For nearly one year, Plaintiff William Richard spent 24-hours a day locked in a

filthy, unsanitary cell at Stateville Correctional Center’s Northern Reception Center (NRC)

because of his disabilities. The Department’s abandonment of Mr. Richard in an overly

restrictive and medically inappropriate unit, without the accommodations he needed for his

disabilities, violated the Americans with Disabilities Act.

       2.      This is a civil rights action brought to redress Mr. Richard’s federally protected

rights under the Americans with Disability Act (ADA), 42 U.S.C. §§ 12101, et seq., Section 504

of the Rehabilitation Act of 1973, 29 U.S.C. § 794, et seq., and the Eighth Amendment of the

United States Constitution.



                                                 1
    Case: 1:17-cv-04677 Document #: 95 Filed: 08/05/19 Page 2 of 10 PageID #:539




                                 JURISDICTION AND VENUE

       3.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 and 28

U.S.C. §§ 1341(a)(3) and (4).

       4.      Venue is proper in this district under 28 U.S.C. § 1391(b) because Defendants

conduct business in this district, and the events at issue occurred within this district.

                                              PARTIES

       5.      Plaintiff William Richard is sixty-four years old. He is currently incarcerated in

Dixon Correctional Center, Lee County, Illinois.

       6.      Defendant John R. Baldwin was the director of the Illinois Department of

Corrections at the time of relevant events. He had responsibility for IDOC’s policies and

procedures and the administration of all correctional facilities in the State. This matter is brought

against Director Baldwin in his individual and official capacities.

       7.      Defendant Randy Pfister was at the time of relevant events, the Warden of the

Northern Resource Center at the Stateville Correctional Center. This matter is brought against

Warden Pfister in his individual capacity.

       8.      Defendant Ricardo Tejada was at the time of relevant events, an Assistant Warden

at the Northern Resource Center, employed by the IDOC. This matter is brought against

Assistant Warden Tejada in his individual capacity.

                                               FACTS

       9.      Mr. Richard has chronic obstructive pulmonary disease (COPD), emphysema, and

asthma. Since 2007, he has been prescribed compressed oxygen 24 hours per day, 7 days per

week, and a CPAP machine to be used every night while sleeping.




                                                   2
    Case: 1:17-cv-04677 Document #: 95 Filed: 08/05/19 Page 3 of 10 PageID #:540




       10.     Mr. Richard also has significant heart disease. He had open-heart surgery in 2007

and had heart attacks in 2013 and 2014, before his incarceration. Mr. Richard had another heart

attack following his eventual transfer out of NRC.

       11.     Mr. Richard also has diabetes and uses a wheelchair.

       12.     Mr. Richard entered the IDOC at the NRC on June 22, 2015. The NRC is a highly

restrictive facility, designed for short-term housing during the intake process.

       13.     Most prisoners are transferred out of NRC and to their long-term placement

(“home facility”) within four to six weeks.

       14.     At NRC, Mr. Richard was confined to his 8x10 cell. He ate all meals in his cell.

He had no access to yard, dayroom, or any type of out-of-cell programming. He was allowed to

shower only once a week. He could not even purchase commissary items above $30.

       15.     The cell itself was filthy and frequented by vermin, including bugs, roaches and

rats. The cell had only one small window, which did not open.

       16.     Roughly four weeks into his time at NRC, an officer came to Mr. Richard’s cell to

collect him for transfer. However, because of his oxygen machine, the officer told Mr. Richard

that he would have to travel separately in a medical transport. The officer told Mr. Richard he

would look into the transport and be back, but he never returned.

       17.     Mr. Williams was not transferred out of NRC for 11 and a half months.

       18.     Mr. Richard’s cell had a metal bed with no mattress, and only one facility-issued

sheet and blanket. In the winter, the cell was extremely cold. In the summer, it was hot and

humid—it had poor ventilation.




                                                 3
    Case: 1:17-cv-04677 Document #: 95 Filed: 08/05/19 Page 4 of 10 PageID #:541




        19.     On a number of occasions his cell was flooded (with water from the floor above).

When this happened, staff did not clean his cell and he was not allowed to leave it. Instead, he

would simply have to wait for the water to slowly drain out.

        20.     At NRC, Mr. Richard suffered a persistent rash on his lower body from the

conditions in the cell, whether the metal bed, the filth, or the insects.

        21.     Mr. Richard’s medical conditions were exacerbated by the dangerous physical

conditions, isolation, and lack of necessary medical care at NRC.

        22.     Although NRC staff conducted a medical intake of Mr. Richard upon his arrival,

he was denied 15 of the 22 medications that he had been prescribed by physicians prior to his

incarceration, including medications he needed for his heart condition.

        23.     For eleven months, Defendants denied Mr. Richard his CPAP machine. When

they finally returned his machine to him, Mr. Richard still could not use it because there was no

outlet in his cell to plug in the machine.

        24.     CPAP machines use air pressure to keep the airways open during sleep, reducing

the number of respiratory events— moments when one stops breathing—during sleep. CPAP

therapy slows the progression and eases symptoms of COPD, such as shortness of breath,

fatigue, chronic coughing, and wheezing, and improves cardiovascular health.

        25.     Defendants’ failure to provide Mr. Richard with a CPAP machine disrupted his

sleep and increased his risk of heart attack complications associated with his other medical

conditions, including asthma and diabetes.

        26.     Mr. Richard lived for nearly a year in constant fear that he would die in his sleep.

He avoided falling asleep, or would sleep sitting up, in an attempt to keep his airways open. In




                                                   4
    Case: 1:17-cv-04677 Document #: 95 Filed: 08/05/19 Page 5 of 10 PageID #:542




addition to his constant anxiety and mental anguish, Mr. Richard’s breathing issues were

exacerbated by the lack of CPAP therapy and his cardiovascular health was affected.

        27.     Mr. Richard was allowed to use concentrated oxygen during his incarceration at

NRC, but the manner in which the oxygen was provided was unhygienic and dangerous to his

health. The tank was kept outside of Mr. Richard’s cell with the tubing run along the dirty floor,

beneath the steel door of his cell – the same space through which the vermin entered his cell.

        28.     Mr. Richard was denied the materials he needed to properly sanitize the nasal

cannula of his oxygen tube, exposing him to constant risk of respiratory infection for nearly a

year.

        29.     Throughout his time at NRC, Mr. Richard asked correctional officers and other

staff that passed by his cell when he would be transferred. He pled with staff to address his

conditions at NRC.

        30.     On one occasion, after about three to four months at NRC, Mr. Richard spoke

with Defendant Assistant Warden Tejeda, who expressed surprise that Mr. Richard was still at

NRC. Defendant Tejeda told Mr. Richard that he would personally look into the matter further.

A few months later, Mr. Richard saw Defendant Tejeda again and, again, Defendant Tejeda said

that he was going to look into it. Mr. Richard never heard back from Defendant Tejeda regarding

his healthcare or his transfer.

        31.     By February 23, 2016, if not sooner, Warden Pfister was personally on notice that

Mr. Richard had been restricted to NRC for far too long and that his medical needs were not

being met at NRC. Moreover, Warden Pfister was aware that the restrictive and isolating

conditions of NRC are detrimental to any person’s well-being, especially those of a medically

fragile individual like Mr. Richard.



                                                 5
    Case: 1:17-cv-04677 Document #: 95 Filed: 08/05/19 Page 6 of 10 PageID #:543




        32.     Director Baldwin, either personally or through his staff in the Springfield office of

the IDOC, was also aware that Mr. Richard was being held at NRC for far too long. On one

occasion, Mr. Richard received a written response from a counselor stating that the supervisors

were “waiting on Springfield to tell them to move you. They (supervisors) are aware of your

situation – she knew you by name alone – so they are working on this for you.”

        33.     Mr. Richard is and was designated as a minimum-security prisoner. Because of

his medical needs, he requires a residential healthcare unit level of care, but instead he was

forced to live in solitary confinement for nearly a year.

                     COUNT I: VIOLATION OF TITLE II OF THE ADA
                           Against Defendant Baldwin (IDOC)

        34.     Each of the above paragraphs setting for the factual allegations is incorporated as

if fully restated herein.

        35.     Under Title II of the ADA, “no qualified individual with a disability shall, by

reason of such disability, be excluded from participation in or be denied the benefits of the

services, programs, or activities of a public entity, or be subjected to discrimination by such

entity.” 42 U.S.C. § 12132.

        36.     As a state agency, the Illinois Department of Corrections is a public entity within

the meaning of Title II of the ADA.

        37.     Plaintiff is a qualified individual with a disability under the ADA because he is

substantially limited in the major life activities of breathing, walking, and sleeping.

        38.     Defendant violated Title II of the ADA by holding Mr. Richard in unduly

restrictive and isolating conditions for significantly longer than other prisoners without

disabilities, because of his disability.




                                                  6
    Case: 1:17-cv-04677 Document #: 95 Filed: 08/05/19 Page 7 of 10 PageID #:544




        39.     Defendants violated Title II by depriving Mr. Richard of access to programs

otherwise available to minimum-security prisoners because of his disability.

        40.     Defendant violated Title II by failing to provide Mr. Richard with reasonable

accommodations to allow him access to programs and services.

        41.     Defendant violated Title II by maintaining conditions of confinement at Stateville

NRC that disparately impacted William Richard due to his disabilities.

        42.     The above-described conduct was intentional, and Defendant acted with malice

and reckless indifference to Plaintiff’s federally protected rights.

        43.     As a result of Defendants’ actions or inactions, the Plaintiff suffered injuries

including the loss of programming and privileges, as well as physical, mental and emotional

injuries.

                 COUNT II: VIOLATION OF THE REHABILITATION ACT
                            Against Defendant Baldwin (IDOC)

        44.     Each of the above paragraphs setting forth the factual allegations is incorporated

as if fully restated herein.

        45.     Section 504 provides that “[]no otherwise qualified individual with a disability in

the United States … shall, solely by reason of her or his disability, be excluded from the

participation in, be denied the benefits of, or be subjected to discrimination under any program or

activity receiving Federal financial assistance…” 29 U.S.C. § 794.

        46.     The Illinois Department of Corrections is subject to the Rehabilitation Act as a

state agency that receives federal financial assistance. 29 U.S.C. § 794(b); C.F.R. 27.1.

        47.     Plaintiff is a qualified individual with a disability pursuant to the Rehabilitation

Act because he is substantially limited in the major life activities of breathing, walking, and

sleeping.

                                                   7
    Case: 1:17-cv-04677 Document #: 95 Filed: 08/05/19 Page 8 of 10 PageID #:545




        48.     Defendant violated Rehabilitation Act by holding Mr. Richard in unduly

restrictive and isolating conditions for significantly longer than other prisoners without

disabilities, because of his disability.

        49.     Defendant violated Rehabilitation Act by depriving Mr. Richard of access to

programs otherwise available to minimum-security prisoners because of his disability.

        50.     Defendant violated Rehabilitation Act by failing to provide Mr. Richard with

reasonable accommodations to allow him access to programs and services.

        51.     Defendant violated the Rehabilitation Act by maintaining conditions of

confinement at Stateville NRC that disparately impacted William Richard due to his disabilities.

        52.     The above-described conduct was intentional, and Defendant acted with malice

and reckless indifference to Plaintiff’s federally protected rights.

        53.     As a result of Defendants’ actions or inactions, the Plaintiff suffered injuries

including the loss of programming and privileges, as well as physical, mental and emotional

injuries.

                               COUNT III: CONSTITUTIONAL VIOLATION
                               8th Amendment Cruel and Unusual Punishment
                                        Conditions of Confinement

        54.     Each of the above paragraphs setting forth the factual allegations is incorporated

as if fully restated herein.

        55.     As described more fully above, Defendants subjected Plaintiff Mr. Richard to

prolonged isolation in unsanitary, dangerous, and overly restrictive conditions for nearly a year

in violation of his Eighth Amendment rights.

        56.     The Defendants acted knowing the Plaintiff was confined in isolation in

unsanitary, dangerous, and overly restrictive conditions of confinement and that those conditions



                                                  8
    Case: 1:17-cv-04677 Document #: 95 Filed: 08/05/19 Page 9 of 10 PageID #:546




posed a risk of harm to Plaintiff. The Defendants acted with deliberate indifference to those

risks.

         57.   As a result of the Defendants’ actions or inactions, the Plaintiff suffered injuries

including the loss of programming and privileges, as well as physical, mental and emotional

injuries.

         WHEREFORE, Plaintiff demands judgment against Defendants for compensatory and

punitive damages, in amounts to be determined by a jury of his peers, in addition to the costs of

this action and attorney’s fees, and such other and additional relief as this court deems equitable

and just.

PLAINTIFF DEMANDS TRIAL BY JURY.

Dated: August 6, 2019



                                                      RESPECTFULLY SUBMITTED,

                                                      /s/ Samantha R. Reed
                                                      One of the Attorneys for Plaintiff

Amanda Antholt
Samantha Reed
Equip for Equality
20 N. Michigan Avenue, Suite 300
Chicago, Illinois 60602
(312) 341-0022
amanda@equipforequality.org
samantha@equipforequality.org




                                                 9
   Case: 1:17-cv-04677 Document #: 95 Filed: 08/05/19 Page 10 of 10 PageID #:547




                             CERTIFICATE OF SERVICE



        It is hereby certified that on August 6, 2019, I electronically filed PLAINTIFFS’
SECOND AMENDED COMPLAINT with the Clerk of Court using the CM/ECF system which
will send notification of such filing to counsel for all parties.



                                  /s/ Samantha R. Reed
                                  One of the Attorneys for Plaintiff




                                            10
